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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 VIRNETX INC., LEIDOS, INC.,                      §
                                                  §
                                                  §     CIVIL ACTION NO. 6:12-CV-00855-RWS
                  Plaintiffs,                     §
                                                  §
 v.                                               §
                                                  §
 APPLE INC.,                                      §
                                                  §
                  Defendant.                      §
      .                                           §

                                              ORDER
          On August 30, 2018, the Court ordered the parties to submit a joint motion requesting

 redactions to the Court’s August 30, 2018 Sealed Memorandum Opinion and Order (Docket No.

 798). Docket No. 799. In response, the parties have filed a joint notice (Docket No. 803)

 indicating that neither party will seek to seal any portion of Docket No. 798 and that the Court

 may file publicly an unredacted version of Docket No. 798 without objection from the parties.

          Accordingly, the Clerk of the Court is directed to unseal Docket No. 798.

          SIGNED this 4th day of September, 2018.



                                                           ____________________________________
                                                           ROBERT W. SCHROEDER III
                                                           UNITED STATES DISTRICT JUDGE
